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FILED ™ copy
DEC 09 2024 =F IN THE CIRCUIT COURT, FOURTH

JUDICIAL CIRCUIT, IN AND FOR
DUVAL CLERK OF COURT DUVAL COUNTY, FLORIDA
CASE NO.: _doad4- CAa- (do54

DIVISION. CV-C_ _

DAUNTE PETERSEN,
Plaintiff,

age

CHUZE FITNESS,

Defendants,

PETITION

The petition of RESTITUTION FOR BREACH OF PRIVACY shows:

1, This is an action for restitution for invasion of privacy by a CHUZE FITNESS General
Manager that specifically targets the Plaintiff:

2. ‘The facts on which the petitioner relies are:

On the 7 day of November 2024, Officer S. T. Floyd #67137 served the Plaintiff with a
Temporary Injunction for Protection Against Stalking from General Manager FRANCES ANN
DOCTOR. FRANCES ANN DOCTOR is unknown to the Plaintiff and should never have access
to the Plaintiff's personally identifiable information. The Plaintiff provided their personally
identifiable information for the sole purpose of membership with CHUZE FITNESS, family-
owned health club chain that suggests a mission statement that references access to affordable,
safe and inclusive fitness for all in an environment that is welcoming. This lawsuit seeks to
recover $100,000.00 as restitution for FRANCES ANN DOCTOR directly abusing company
software computer systems to obtain the Plaintiff's personally identifiable information to petition

the Duval County Courts for an order of protection. The Electronic Communication Privacy Act
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(ECPA) is a primary law in the United States that possesses the potential to prevent any employee
from accessing company software to stalk their customers.

3,

Breach of Privacy has the capacity to present as a form of Discrimination and privacy is a
fundamental human right, which includes the right to be free from interference and intrusion

controlling who can see or use information that references that person.

FRANCES ANN DOCTOR is prejudice and provides proof of this listed in their petition for
injunction for protection against stalking filed on the 6" day of November 2024, that specifically
lists the Plaintiff's name, address and a physical description that lists black/male. The evidence of
Systematic racism is clear and is deeply embedded into the Defendants core values of their
organization. The Privacy Act of 1974 is a federal law that protects individuals from the use,
collection and disclosure of their personal information combined with the Plaintiff's protected

"status as a Veteran under the Americans with Disabilities Act (ADA) depicts clear violations. The
validity of this suit specifically references FRANCES ANN DOCTOR’s signed, sworn and dated
statement that mentions CHUZE FITNESS, the Plaintiff by name and their employment title
within the CHUZE FITNESS chain. This lawsuit is justified based on the use of the Plaintiff’ s
personally identifiable information by FRANCES ANN DOCTOR that has admitted to the use of
CHUZE FITNESS computer software systems to invade the privacy of a member that provided

their personal information for membership only purposes.
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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a copy of the above hereof has been furnished to CHUZE

FITNESS, 3000-2 DUNN AVE JACKSONVILLE FLORIDA 32218 by DELIVERY on the #4 day
of December 2024.

Daunté Petersen

4580 Muscadine Ct.
Jacksonville, Florida 32210
Dpetersen326@outlook.com
